Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 1 of 23 Page
                                  ID #:2269




                             EXHIBIT 1




                                     167
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 2 of 23 Page
                                  ID #:2270




                                     168
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 3 of 23 Page
                                  ID #:2271




                                     169
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 4 of 23 Page
                                  ID #:2272




                                     170
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 5 of 23 Page
                                  ID #:2273




                                     171
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 6 of 23 Page
                                  ID #:2274




                                     172
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 7 of 23 Page
                                  ID #:2275




                                     173
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 8 of 23 Page
                                  ID #:2276




                                     174
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 9 of 23 Page
                                  ID #:2277




                                     175
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 10 of 23 Page
                                  ID #:2278




                                     176
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 11 of 23 Page
                                  ID #:2279




                                     177
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 12 of 23 Page
                                  ID #:2280




                                     178
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 13 of 23 Page
                                  ID #:2281




                                     179
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 14 of 23 Page
                                  ID #:2282




                                     180
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 15 of 23 Page
                                  ID #:2283




                                     181
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 16 of 23 Page
                                  ID #:2284




                                     182
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 17 of 23 Page
                                  ID #:2285




                                     183
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 18 of 23 Page
                                  ID #:2286




                                     184
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 19 of 23 Page
                                  ID #:2287




                                     185
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 20 of 23 Page
                                  ID #:2288




                                     186
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 21 of 23 Page
                                  ID #:2289




                                     187
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 22 of 23 Page
                                  ID #:2290




                                     188
                                   EXHIBIT 1
Case 2:16-cv-08697-FMO-PVC   Document 171-1    Filed 11/17/17   Page 23 of 23 Page
                                  ID #:2291




                                     189
                                   EXHIBIT 1
